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 1                           UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF OHIO
 2                                 EASTERN DIVISION

 3         UNITED STATES OF AMERICA,         )
                                             )   Case No. 1:14-cr-438
 4                      Plaintiff,           )   Youngstown, Ohio
                                             )   Tuesday, November 15, 2016
 5               vs.                         )   3:09 p.m.
                                             )
 6         RYAN D. MALONE,                   )
                                             )
 7                      Defendant.           )

 8                             TRANSCRIPT OF PROCEEDINGS
                        BEFORE THE HONORABLE BENITA Y. PEARSON
 9                           UNITED STATES DISTRICT JUDGE

10                                      RESENTENCING

11        APPEARANCES:

12        For the Government:
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               Proceedings recorded by mechanical stenography;
25        transcript produced by computer-aided transcription.
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 1        APPEARANCES (CONTINUED):

 2        For the Defendant:
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            1                                 P R O C E E D I N G S

            2                                          - - -

            3                     THE CLERK:     The matter before the court is Case

            4        Number 1:14-cr-438, the United States of America versus

15:09:44    5        Defendant Number 1, Ryan D. Malone.

            6                     THE COURT:     Good afternoon, everyone.        You may all

            7        retake your seats.

            8                     Counsel for the United States, will you please

            9        introduce yourself for the record and the person seated with

15:09:55   10        you at counsel's table?

           11                     MS. KLUMP:     Good afternoon, Your Honor.         Kendra

           12        Klump for the United States, along with FBI Special Agent

           13        Paul Cruz.

           14                     THE COURT:     Welcome to you both.

15:10:06   15                     MS. KLUMP:     Thank you.

           16                     THE COURT:     Counsel for Mr. Malone, will you

           17        please introduce yourself for the record along with your

           18        client?

           19                     MR. THOMPSON:     Good afternoon, Your Honor.         Darin

15:10:13   20        Thompson from the Federal Public Defender Office, and to my

           21        left is Ryan Malone.

           22                     THE COURT:     Good afternoon to you, Mr. Thompson,

           23        and welcome to you all.

           24                     This matter has been scheduled to allow the court

15:10:25   25        to resentence you, Mr. Malone, and this resentencing has

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            1        become necessary given that the Sixth Circuit has vacated my

            2        original sentence in line with intervening case law that we

            3        colloquially refer to as Johnson.

            4                     Since then, there have been reissued presentence

15:10:46    5        reports and memoranda on behalf of the United States and you

            6        by Mr. Thompson.       But in a rather uncharacteristic move, I

            7        also have several motions filed by you, which is rather

            8        surprising given that the court has appointed counsel for

            9        you; and not just any counsel, but counsel that hails from

15:11:07   10        one of the best defense firms in the Northern District of

           11        Ohio.    And he's seated with you now at counsel's table.

           12                     So what I'll do is start this hearing by taking up

           13        only one of your motions, because only one matters to me

           14        today, and it's the motion to discharge and appoint new

15:11:23   15        counsel.     Because you see, if I do neither, discharge

           16        Mr. Thompson or appoint new counsel, then your other motions

           17        won't matter, because I will believe, unless he tells me

           18        differently, that he has spoken for you.

           19                     Because when a defendant has counsel, that counsel

15:11:41   20        speaks for the defense in this room.            That makes sense,

           21        doesn't it?

           22                     THE DEFENDANT:      It does, Your Honor.

           23                     THE COURT:     Then stop.     I didn't ask for an

           24        explanation.

15:11:50   25                     Mr. Thompson, I am interested in hearing from you.

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            1        I am speaking about this motion that's docketed as ECF

            2        Number 103, dated the 11th of October, 2016.             You've seen

            3        it, haven't you?

            4                     MR. THOMPSON:     I have, Your Honor.

15:12:05    5                     THE COURT:     Ms. Klump, you've seen it as well?

            6                     MS. KLUMP:     Yes, Your Honor.

            7                     THE COURT:     Mr. Thompson, I'd like to know what

            8        your position is regarding this, what discussions you've had

            9        that you can share that don't violate attorney-client

15:12:17   10        privilege, and, quite simply, if you're still interested in

           11        representing Mr. Malone and/or whether or not he has an

           12        interest in persisting with this motion or withdrawing it.

           13                     MR. THOMPSON:     Your Honor, in my opinion, there

           14        isn't a breakdown of communication such that new counsel

15:12:35   15        needs to be appointed.        Mr. Malone and I have had

           16        disagreements about a number of legal theories he wants to

           17        pursue.     Some of them are addressed in his pro se motions.

           18        It's not uncommon for appointed counsel and defendant to

           19        disagree about things like this.           So it didn't strike me as

15:13:00   20        sufficiently unusual or outside the norm.

           21                     THE COURT:     Well, it's outside of the norm and

           22        sufficiently unusual for these to be memorialized on the

           23        docket.     Maybe not in general conversation.          But I

           24        referenced ECF 103, the Motion to Discharge, and then what's

15:13:17   25        stated there is echoed in ECF 111, which is styled both as a

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            1        Motion to Compel Answer to Defendant's Filed Motion to

            2        Discharge and Appoint New Counsel.           And I'm not sure from

            3        whom Mr. Malone intended to compel an answer, perhaps from

            4        myself.

15:13:34    5                     So your answer to the question appears to be you

            6        don't believe there is a breakdown and you are not asking me

            7        to remove you as counsel?

            8                     MR. THOMPSON:     That's correct, Your Honor.

            9                     THE COURT:     Let me hear from you, Mr. Malone.

15:13:45   10        Stand up, please.

           11                     I have your motion, motions, maybe, given the echo

           12        in ECF 111.      Are you still interested in having me remove

           13        Mr. Thompson or at least consider doing that?

           14                     THE DEFENDANT:      Well, Your Honor, Mr. Thompson and

15:14:08   15        myself did have a conversation last week prior to him coming

           16        to see me on November the 1st when I refused to speak with

           17        him.    He returned to see me on November the 7th, and we did

           18        sit down and have a conversation.

           19                     So as of today, I do not wish to continue to

15:14:27   20        remove him.

           21                     THE COURT:     Are you withdrawing your motion asking

           22        me to discharge him and replace him with new counsel then?

           23                     THE DEFENDANT:      Yes, I am, Your Honor.

           24                     THE COURT:     I will mark the motion as withdrawn,

15:14:39   25        that being ECF 103 and also ECF 111.

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            1                     Mr. Thompson, what else is on the docket and

            2        authored by Mr. Malone and not you come at ECF 107 and 112.

            3        One is styled a Motion to Correct Error in PSR.              The other

            4        is Addendum to Defendant's Sentencing Memorandum, Downward

15:15:03    5        Departure Request and RDAP Request.           It appears that

            6        Mr. Malone had even more to say than you, because you

            7        certainly wrote to me about both those points.

            8                     Have you reviewed these writings?

            9                     MR. THOMPSON:     I have, Your Honor.

15:15:15   10                     THE COURT:     Are you prepared, to the extent you

           11        believe it necessary, to incorporate them in your

           12        representation of Mr. Malone today?

           13                     MR. THOMPSON:     Yes, Your Honor.

           14                     THE COURT:     All right then.      Then that's how we'll

15:15:24   15        address those.

           16                     Thank you, Mr. Malone.        You may retake your seat.

           17                     I've already identified matters that -- documents

           18        that I've addressed in preparation for today's resentencing

           19        hearing, and included in that, the memoranda filed on behalf

15:15:44   20        of the United States by you, Ms. Klump.            Also the memorandum

           21        filed by Mr. Thompson.        That will, of course, include, to

           22        the extent he believes additional mention is necessary, 107

           23        filed by Mr. Malone and 112 filed by Mr. Malone.

           24                     And there is the revised presentence investigation

15:16:09   25        report.     And perhaps this is the best time for me to

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            1        introduce, or ask that he introduce himself on the record,

            2        the writer of this report.

            3                     Will you do that, sir?

            4                     PROBATION OFFICER:       Good afternoon, Your Honor.

15:16:20    5        Jordan Wlotzko with United States Probation.

            6                     THE COURT:     Thank you for authoring this report

            7        and for being here today.

            8                     And the report I'm referring to, as you know,

            9        there are several, but I'm looking at the one that was last

15:16:32   10        revised on October 1st, this year, 2016.

           11                     Ms. Klump, do you have that same report?

           12                     MS. KLUMP:     Yes, Your Honor.

           13                     THE COURT:     Have you had sufficient time to review

           14        it?

15:16:44   15                     MS. KLUMP:     Yes, I have.

           16                     THE COURT:     When I review the objections that are

           17        at the back of that report, starting in the addendum on page

           18        23, I note that there are no objections there on behalf of

           19        the United States.

15:16:55   20                     Is that still the case?

           21                     MS. KLUMP:     Yes, Your Honor.

           22                     THE COURT:     Mr. Thompson, again, we're focused on

           23        the report that was last revised on -- it says last revised

           24        October 1, Mr. Wlotzko, but it was filed on November 1.

15:17:16   25                     PROBATION OFFICER:       That should be November 1st,

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            1        Your Honor.

            2                     THE COURT:     So the revision date is November 1?

            3                     PROBATION OFFICER:       Yes, Your Honor.

            4                     THE COURT:     Does that change your answer at all,

15:17:22    5        Ms. Klump?

            6                     MS. KLUMP:     No, Your Honor.

            7                     THE COURT:     So, Mr. Thompson, I'm talking about

            8        the November 1 report.        Do you have it, sir?

            9                     MR. THOMPSON:     I do, Your Honor.

15:17:30   10                     THE COURT:     And when I ask you to look at the

           11        addendum, there are objections there on behalf of your

           12        client.     Are all of your objections summarized on the pages

           13        that span from 23 to 25, sir?

           14                     MR. THOMPSON:     Yes, Your Honor.

15:17:51   15                     THE COURT:     And, of course, if you believe, before

           16        we separate, that there's something more you'd like to bring

           17        up, you are free to do it here today and I'll decide what to

           18        do about that.

           19                     What I'd like to do is to speak about these

15:18:07   20        objections as we go through the final presentence report,

           21        Mr. Malone.      It tends to make more sense when we do it that

           22        way.

           23                     There are a couple of statements in this section,

           24        Mr. Wlotzko, that I don't really understand, so it's hard

15:18:26   25        for me to weave them in.

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            1                  So, for instance, sir, on page 24, at the very

            2     top, it says paragraph number 2, and then it speaks about an

            3     adjusted offense level that's different from the calculated

            4     adjusted offense level.        I'm not sure what you mean there.

15:18:46    5                  PROBATION OFFICER:      In my response to objection

            6     number 2?

            7                  THE COURT:    No.   If you're telling -- I'm talking

            8     about the paragraph that's at the top of page 24 that begins

            9     "2" period.     Are you saying that that's Mr. Malone's

15:19:03   10     objection?

           11                  PROBATION OFFICER:      Yes.

           12                  THE COURT:    And then your answer --

           13                  MR. THOMPSON:     The second objection.

           14                  THE COURT:    -- is --

           15                  MR. THOMPSON:     I had the same question the judge

           16     has.

           17                  THE COURT:    Mr. Thompson, will you say that again?

           18     I could hear you partially.

           19                  MR. THOMPSON:     Oh, I apologize, Your Honor.

15:19:19   20                  THE COURT:    Well, that's okay, because you may be

           21     able to help me.      What is that, if it's not an objection?

           22                  MR. THOMPSON:     The ones with the numbers in front,

           23     "2," and then there's a section with a heading "Response by

           24     U.S. Probation Officer," below that there's a section that

15:19:31   25     doesn't have a heading but just says a "3" --

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            1                 THE COURT:     Yes.

            2                 MR. THOMPSON:      -- and there's a response.         Those

            3     are the objections.       The numbered ones are the objections.

            4                 THE COURT:     And that's what I don't understand.

15:19:41    5     Unless you're saying that because you don't believe the

            6     four-level enhancement is appropriate, you think it should

            7     be 22 and Mr. Wlotzko is responding, "No, I think 26

            8     continues to be correct."

            9                 Do I understand you both then?

15:19:53   10                 MR. THOMPSON:      Yes.

           11                 PROBATION OFFICER:        Yes, Your Honor.

           12                 THE COURT:     Then stay on your feet for a moment,

           13     because I want to make sure I understand item 3 in the same

           14     way.    So then at item 3, Mr. Thompson, based on the

15:20:02   15     objection as noted herein, the total offense level is 19,

           16     and that's because you start at 22?

           17                 MR. THOMPSON:      Yes.

           18                 THE COURT:     But then you take out the two-level

           19     adjustment -- I'm not sure how you get to 19.             Tell me that.

15:20:21   20     Because 19 would require a three-level adjustment.              Correct,

           21     Mr. Wlotzko?

           22                 MR. THOMPSON:      I believe the 19, Your Honor, would

           23     be his total offense level after acceptance of

           24     responsibility.      I thought that was where I was going with

15:20:41   25     that.

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            1                 THE COURT:     So you would replace 26 with 22 and

            2     then reduce it by three to get 19?

            3                 MR. THOMPSON:      Yes, Your Honor.

            4                 THE COURT:     All right.     And, Mr. Wlotzko, to make

15:20:53    5     sure I understand you, you are persisting with 23?

            6                 PROBATION OFFICER:       That's correct, Your Honor.

            7                 THE COURT:     Okay.    Fair enough.     Then we can weave

            8     those in as well.

            9                 So why don't we do this:         Mr. Malone, you've done

15:21:03   10     this not so long ago, but I want to make sure still that you

           11     understand and can follow along, because your assistance to

           12     Mr. Thompson is going to be important.

           13                 The first thing I am going to do is go through

           14     this report, make sure that I correctly calculate the

15:21:16   15     advisory sentencing guidelines range.           I will speak with

           16     your counsel, with the government's counsel about the

           17     objections that are in this report to the calculation as it

           18     now exists.

           19                 Once I've satisfied myself about the offense

15:21:29   20     level, I will move on to the criminal history category.                     I

           21     know that Mr. Thompson has something to say about that as

           22     well, believing that it overstates your criminal history

           23     position.

           24                 Once I'm satisfied that I have the accurate range,

15:21:44   25     I will then move on to the second phase of the hearing, and

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            1     that phase is the phase during which I'll hear from counsel.

            2     I'll hear from Ms. Klump first on behalf of the United

            3     States.    I will then hear from Mr. Thompson.           Lastly, I will

            4     hear from you.      Whatever it is you'd like to say, I will

15:21:59    5     seriously consider.

            6                 And then the third and final phase is the phase

            7     during which I impose sentence.

            8                 Make sense?

            9                 THE DEFENDANT:      Yes, Your Honor.

15:22:08   10                 THE COURT:     All right then.

           11                 Counselors and Mr. Malone, because we've all

           12     reviewed this report, that being the November 1, 2016

           13     report, I won't speak about every paragraph of this

           14     multi-paragraph, multipage report on the record, but I will

15:22:24   15     ask you to turn to certain portions of it with me, because

           16     these portions are of some importance to me, maybe greater

           17     than other parts, and also are referenced later.              So I want

           18     to be sure that we're all aware.

           19                 The first place I'd like to draw your attention is

15:22:40   20     at page 4, page 4 and also page 5, under the offense

           21     conduct, paragraphs 7 and 8 seems to be pretty consistent

           22     with the renditions given in earlier versions of this

           23     report.    And these two paragraphs are referenced in the

           24     offense calculation, which we'll turn to in a moment.

15:23:05   25                 The next place I'd like to -- well, having drawn

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            1     your attention to that, and while I think I understand that

            2     the objections as they stand now are captured in the

            3     addendum, any objection to paragraph 7 or 8, Ms. Klump?

            4                  MS. KLUMP:    No, Your Honor.

15:23:21    5                  THE COURT:    Mr. Thompson?

            6                  MR. THOMPSON:     To be clear, we don't have an

            7     objection to the facts related in 7 and 8, only insofar as

            8     they are a reflection of what's contained in Cleveland

            9     police reports.

15:23:37   10                  THE COURT:    Understood.     And I'm certainly not

           11     asking you to adopt the report.

           12                  So then, stay on page 5 with me.         Under

           13     "Adjustment for Acceptance of Responsibility," paragraph 12

           14     is a very short paragraph that simply states, "The defendant

15:23:57   15     provided the following statement through defense counsel

           16     wherein he admitted involvement in the offense."

           17                  What's in quotes, Mr. Malone, I want to make sure

           18     you still agree with, so I'll read it and afterwards ask if

           19     it's still indeed your statement and a statement that you

15:24:11   20     continue to agree with.

           21                  "On November 4th, 2014, I possessed the firearm

           22     described in the indictment after having been convicted of a

           23     felony.    I deeply regret my conduct and ask the court for

           24     lenience."

15:24:25   25                  Mr. Malone, is that your statement, sir?

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            1                 THE DEFENDANT:      Your Honor, so that I wouldn't be

            2     confused, I would like to ask this pertaining to your

            3     question on page 5, paragraph 12 as far as it is stating

            4     that I admitted involvement in the offense, is this

15:24:47    5     referencing the two paragraphs that you just quoted, page

            6     7 -- paragraphs 7 and 8?

            7                 THE COURT:     Mr. Thompson may want to speak with

            8     you, but let me say this:        It's your statement, so I think

            9     it's probably most fair for you to tell me what you mean in

15:25:03   10     paragraph 12 on page 5.

           11                 Would you like to speak with him first,

           12     Mr. Thompson?

           13                 MR. THOMPSON:      Please, Your Honor.

           14                 THE COURT:     Certainly.

15:25:12   15           (Discussion held off the record between the defendant

           16           and Mr. Thompson.)

           17                 THE DEFENDANT:      Okay.    Yes, Your Honor, as far as

           18     the statement that I made in paragraph 12, where I admitted

           19     that I possessed the firearm described in the indictment,

15:25:41   20     yes, that statement is true.

           21                 THE COURT:     Thank you.     And it's a statement that

           22     you continue to agree with today?

           23                 THE DEFENDANT:      Yes, Your Honor.

           24                 THE COURT:     Thank you.     Now, still on page 5, but

15:25:53   25     now we're under the subtopic heading "Offense Level

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            1     Computation."      You can see what's first there is

            2     Mr. Wlotzko's description of which Guidelines Manual he's

            3     used; and he's using the most current one, that being the

            4     one issued November 1, 2015.         And he explains there that it

15:26:16    5     was used to determine the offense level.

            6                 Any objection to that, Ms. Klump?

            7                 MS. KLUMP:     No, Your Honor.

            8                 THE COURT:     Mr. Thompson?

            9                 MR. THOMPSON:      No, Your Honor.

15:26:22   10                 THE COURT:     So now, because there is only the one

           11     offense to be calculated, and that is the felon in

           12     possession of a firearm and ammunition offense that's

           13     summarized without a numbered paragraph, we can move on to

           14     paragraph 14.      And I don't expect disagreement here.           I

15:26:46   15     think this is a paragraph that is corrected based upon the

           16     Sixth Circuit's ruling following the Supreme Court's

           17     issuance of the Johnson decision.

           18                 I think we all recall that the last time we saw a

           19     paragraph similar to 14 relative to Mr. Malone, there were

15:27:02   20     two offenses there.       Now there is only one prior offense,

           21     which is a trafficking offense in which Mr. Malone was

           22     convicted in Common Pleas Court in Cuyahoga County.               The

           23     Case Number 06483164 is given.          And using that in

           24     combination with Section 2K2.1, subsection (a)(4)(A), a base

15:27:27   25     offense level of 20 is attributed to Mr. Malone.

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            1                 Any objection to that, Ms. Klump?

            2                 MS. KLUMP:     No, Your Honor.

            3                 THE COURT:     Any objection to that paragraph,

            4     Mr. Thompson?

15:27:36    5                 MR. THOMPSON:      Your Honor, may I have a moment to

            6     speak with Mr. Malone about this?

            7                 THE COURT:     Certainly.

            8                 MR. THOMPSON:      Thank you.

            9           (Discussion held off the record between the defendant

15:29:36   10           and Mr. Thompson.)

           11                 MR. THOMPSON:      Your Honor?

           12                 THE COURT:     Yes, sir.

           13                 MR. THOMPSON:      If I could just indicate on the

           14     record the source of -- or, rather, the conversation

15:29:50   15     Mr. Malone and I were just having about this paragraph.

           16                 Mr. Malone wants me to object to the application

           17     of this base offense level 20, application of --

           18                 THE COURT:     Mr. Thompson, do me the favor of

           19     directing upwards your microphone.

15:30:13   20                 MR. THOMPSON:      Sorry, Your Honor.

           21                 Your Honor, Mr. Malone wants me to take the

           22     position that the trafficking offense in his past does not

           23     qualify as a controlled substance offense.            I believe, and

           24     I'm not entirely sure I could articulate it correctly, but I

15:30:37   25     believe that his argument would involve whether or not using

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            1     the modified categorical approach, that drug trafficking

            2     would qualify as a controlled substance offense for purposes

            3     of the guidelines.

            4                 I have indicated to him that I believe that

15:30:52    5     argument does not have merit, and that, therefore, I cannot

            6     raise it.     He asks simply that I address it with the court

            7     in this fashion, and I don't know if the court has any

            8     guidance as to what direction we should go from here.

            9                 THE COURT:     Well, you have raised it, and I

15:31:12   10     appreciate you raising it and also remarking that you

           11     believe it doesn't have merit.          I believe it doesn't have

           12     merit.    So it's raised.      It's overruled.

           13                 THE DEFENDANT:      Okay.

           14                 THE COURT:     And I do apply the base offense level

15:31:24   15     of 20 for the reasons given in paragraph 14.             It's preserved

           16     if you should like it reviewed later.

           17                 Make sense?

           18                 THE DEFENDANT:      Yes, Your Honor.

           19                 MR. THOMPSON:      Thank you, Your Honor.

15:31:33   20                 THE COURT:     Certainly.

           21                 Now then, let's move on to page 6, specific

           22     offense characteristic, 15, paragraph 15, I should say.

           23     This is one section to which Mr. Malone has an objection

           24     that is remarked upon in the addendum.           And what is

15:32:01   25     suggested at paragraph 15 is that -- or perhaps maybe it's

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            1     not that he's objecting to, Mr. Thompson.            You'll tell me in

            2     a moment.

            3                 The firearm was stolen.        When that's the case,

            4     Section 2K2.1(b)(4) suggests increasing the base offense

15:32:21    5     level by two levels.       That was done, as is shown in

            6     paragraph 15.

            7                 Do you have an objection to that increase by two

            8     levels because the firearm was stolen, Ms. Klump?

            9                 MS. KLUMP:     No objection, Your Honor.

15:32:36   10                 THE COURT:     And we're talking about the Glock that

           11     was found on the possession of Mr. Malone when he was

           12     arrested, correct, Ms. Klump?

           13                 MS. KLUMP:     Yes, Your Honor.

           14                 THE COURT:     Mr. Thompson, your position regarding

15:32:47   15     paragraph 15's increase by two levels?

           16                 MR. THOMPSON:      No objection, Your Honor.

           17                 THE COURT:     Then I adopt that increase by two

           18     levels.

           19                 So now we're on specific offense characteristic

15:33:01   20     identified in paragraph 15.         And this is one that's been

           21     subject of much discussion.         It's pursuant to Section

           22     2K2.1(b)(6)(B), and it is applied if the defendant used or

           23     possessed any firearm or ammunition in connection with

           24     another felony offense or, possessed or transferred any

15:33:23   25     firearm or ammunition with intent, knowledge or reason to

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            1     believe that it would be used or possessed in connection

            2     with another felony offense.

            3                 You can see what explanation is written there.

            4     And this is when Mr. Wlotzko refers back to paragraphs 7 and

15:33:41    5     8 that we've already spoken about.

            6                 What's written here is, "As noted in the offense

            7     conduct section," and that's primarily paragraphs 7 and 8,

            8     "the defendant was arrested while in possession of a firearm

            9     after committing numerous felony offenses where a firearm

15:33:55   10     was possessed.      Defendant was indicted on charges of

           11     kidnapping with firearm specifications, repeat violent

           12     offender specification, abduction with firearm

           13     specifications, felonious assault with firearm

           14     specifications, and repeat violent offender specifications,

15:34:13   15     having weapons while under a disability, carrying concealed

           16     weapons, possessing criminal tools and receiving stolen

           17     property in Cuyahoga County Court of Common Pleas," and the

           18     case number is given as 14591007.

           19                 And as we know, that same case is remarked upon

15:34:34   20     later in this report in the criminal history section, and

           21     that is not scored.       It is paragraph 48.       And it's remarked

           22     there that "Victim failed to appear.           Prosecutor's motion to

           23     continue denied.      Case dismissed."

           24                 So, Mr. Thompson, now might be the best time to

15:34:54   25     let you go first this time to weave in your objection to the

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            1     application.     You've written articulately in the memorandum,

            2     and Ms. Klump has as well.         So I'll let you start and I'll

            3     allow her to respond, give you the last word and I'll rule.

            4                 Is that fair?

15:35:12    5                 MR. THOMPSON:      It is, Your Honor.

            6                 Your Honor, if I may just -- whenever I appear

            7     before Your Honor, I say the same thing I feel, which is,

            8     you know, I'm going to try not to just repeat what I put in

            9     the memorandum, but as a lawyer, unfortunately, I can't help

15:35:28   10     but repeat myself sometimes.         I feel like sometimes I

           11     believe I'm getting paid by the word.           But I can't help but

           12     go over this argument again, Your Honor.

           13                 I understand that the standard is low for

           14     establishing a special offense characteristic like this,

15:35:44   15     that it's not beyond a reasonable doubt.            But at the same

           16     time, it's more than a scintilla, it's more than probable

           17     cause.

           18                 This case was dismissed against him.           There is no

           19     evidence in the record about who this witness was,

15:36:00   20     specifically what they saw, the circumstances under which

           21     they saw it.     They identify one handgun, four individuals.

           22     Who has the handgun?       There's no indication.        Does this

           23     witness have any kind of criminal record, any baggage?

           24     There's no indication at all.

15:36:16   25                 Why did the -- why didn't the people who were

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            1     necessary to prosecute this case fail to show up?              Well, the

            2     government will suggest, I would surmise, that, well,

            3     perhaps they were intimidated, or perhaps they were --

            4     perhaps there is some nefarious explanation that is still

15:36:38    5     consistent with guilt of this conduct.

            6                 But I would respectfully suggest that it is far

            7     more likely that the reason they did not go forward was

            8     because they did not -- they didn't want to go into court

            9     and continue telling this false story.

15:36:57   10                 Not only do I think there isn't sufficient

           11     evidence to show the connection between the firearm he was

           12     arrested with and whatever firearm is alleged to have been

           13     used by whomever in this prior alleged kidnapping, I am not

           14     even sure that there is sufficient proof here that a

15:37:17   15     kidnapping even occurred.

           16                 This call to someone asking for $200,000 in

           17     ransom, why would anybody have a belief that this Mr. Yates

           18     has $200,000 in cash to give up as a ransom?             This is --

           19     according to the police reports, this stemmed from a

15:37:35   20     purchase of -- attempted purchase of stolen clothes by the

           21     alleged victim, Ivory Yates, from the brother of Mr. Malone,

           22     and then spiraled into this.         After a call to the police,

           23     they managed to locate two individuals.            People calling did

           24     accurately describe someone they obviously knew, because

15:37:51   25     they were buying and selling stolen clothes from each other.

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            1                  But there's no proof that anything that happened

            2     before that was anything like this alleged kidnapping that's

            3     described.     The blood that's found in the car, is it ever

            4     tested?    I would assume that -- I mean, the reports indicate

15:38:10    5     that it was sent for testing.         Does it match anybody?

            6                  Your Honor, quite simply, I understand that the

            7     burden of proof is low, but the burden of proof can't be

            8     just, "Well, it shows up in a police report."

            9                  For those reasons, we would ask the court to not

15:38:26   10     apply the four levels.        Thank you.

           11                  THE COURT:    Thank you, Mr. Thompson.

           12                  Ms. Klump?

           13                  MS. KLUMP:    Thank you, Your Honor.        I'd like to

           14     just briefly respond to a couple of the legal points that

15:38:36   15     Mr. Thompson made.

           16                  First, as I cited in my memorandum, as I too would

           17     like to incorporate my comments in my memorandum, the fact

           18     that the charges were dismissed or even if no charges had

           19     been brought at all in connection with the kidnapping, that

15:38:53   20     is not determinative for this court.           And we know that, of

           21     course, because this enhancement was applied at the

           22     defendant's original sentencing and those charges at that

           23     time were still pending.

           24                  Along those lines, the fact that the victim did

15:39:07   25     not show up in the county and the county prosecutor's motion

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            1     to continue that trial was denied should not defeat

            2     application of this enhancement here.

            3                 We know from the Ford case, which was cited in

            4     Mr. Thompson's memo, that the victim's unavailability does

15:39:26    5     not bar the imposition of this enhancement.             Certainly, his

            6     failure to show up for the trial, under circumstances that

            7     we don't know the reasons why, should not undermine the

            8     evidence that otherwise supports this enhancement.

            9                 Similarly, with respect to the victim,

15:39:50   10     Mr. Thompson made comments suggesting that perhaps the

           11     victim and other witnesses had baggage of their own.               That

           12     certainly may be true.        I am not aware of the circumstances

           13     surrounding that.      But regardless of the character of a

           14     victim, they are still protected from violence that's

15:40:11   15     brought against them.

           16                 Also, with regards to the standard and going into

           17     the facts that are relevant here, I would dispute

           18     Mr. Thompson's statement that the standard is low.              He's

           19     certainly correct, the standard is not probable cause, but

15:40:28   20     is preponderance of the evidence.          And I think that is a

           21     standard that is -- that holds weight and is satisfied here.

           22                 I know the court has already reviewed my

           23     memorandum.     I've also referenced in that memorandum the

           24     police report, Docket 63-1, which was already in the record

15:40:52   25     and already available for the court's review.

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            1                 But I think a review of all of those facts, as

            2     well as the facts in the PSR, support the enhancement.                  Not

            3     to belabor that, but just to quickly touch on some of those

            4     facts.    Starting with the matching vehicle.           There were

15:41:10    5     witness reports of a vehicle, which was later very similar,

            6     if not identical to the vehicle that was seen at the time of

            7     Mr. Malone's arrest, along with Mr. Cooper.

            8                 In addition, the telephone number that was

            9     reported, and then the telephone number for which those

15:41:33   10     phone records were reviewed traced physically to the address

           11     referenced in the police report at which Mr. Malone and

           12     Mr. Cooper were present.

           13                 That further supports the reliability, at least to

           14     this extent, of the victim's and witnesses' statements.

15:41:56   15     Once there, not only did the ransom call phone number pan

           16     out and trace to a location where Mr. Malone was present,

           17     but, again, there was the car that was matching the

           18     description of the vehicle that was involved in the

           19     kidnapping.

15:42:09   20                 Mr. Malone and Mr. Cooper, of course, both had

           21     firearms on them.      That's consistent with the report that

           22     each offender pointed a handgun at Yates and Malone.               So to

           23     the extent Mr. Thompson argued there was only one firearm

           24     involved, it appears that each offender, each of the four

15:42:25   25     kidnappers had a firearm.

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            1                  Again, that's consistent here with the evidence

            2     found on these men.       Mr. Malone himself had duct tape, a

            3     black mask and hat.       A black hat and mask would be

            4     consistent with the descriptions given by the witnesses, as

15:42:40    5     well as the duct tape being consistent with the fact that

            6     the victim was bound during the course of the incident.

            7                  As far as Mr. Cooper, Mr. Cooper also had a black

            8     hat.   Of course, the firearm.        And he had a handcuff key,

            9     which, again, is consistent with the reports by the

15:42:55   10     witnesses.

           11                  There was some argument made regarding which

           12     firearm was involved.       As I've already pointed out in my

           13     memorandum, and I think is clear in the guideline

           14     commentary, the firearm that Mr. Malone was arrested with

15:43:11   15     need not be the exact same firearm that he used in the

           16     kidnapping.     I think there is sufficient evidence here to

           17     make that inference.       But regardless, even if the court

           18     didn't find that that identity was demonstrated by the

           19     government, I think there is certainly the necessary clear

15:43:30   20     connection that the law requires here.

           21                  I mean, here we have an ongoing event,

           22     essentially, from the kidnapping at approximately 8 p.m., a

           23     relatively short time elapses from the kidnapping, and then

           24     there's the ransom call, the police and the FBI are

15:43:48   25     involved, and then the arrest of Mr. Malone and Mr. Cooper

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            1     the next morning, when the corroborating evidence is still

            2     on their persons.      That's not coincidental, but a clear

            3     connection between the two incidents.

            4                 I would just close, Your Honor, with, again,

15:44:04    5     reiterating the evidence in the record that we see, both in

            6     the PSR and that is highlighted in my memo.             And would also

            7     note that the case law in Ford, as well as Johnson, a

            8     different Johnson than the infamous Johnson referenced

            9     earlier, but both of those Sixth Circuit cases support that

15:44:27   10     "reliable evidence such as a 911 call or police report

           11     supplies the requisite facts."          Then, in that case, the

           12     enhancement can be applied.

           13                 Here I think the police reports in evidence, as

           14     well as some of the dispatch records that are included in

15:44:43   15     that report, and I think all that together supplies ample

           16     evidence for this court to apply the four levels.

           17                 Thank you.

           18                 THE COURT:     Thank you.     Mr. Thompson, would you

           19     like the last word?

15:44:54   20                 MR. THOMPSON:      Yes, Your Honor.

           21                 I believe the only thing I'd directly respond to

           22     is the concept that a police report is inherently reliable

           23     evidence.     I think there's a different question that's

           24     being -- or a different factual scenario that's being

15:45:11   25     presented here, and I don't think there is a police officer

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            1     that would disagree with the statement that although -- just

            2     because a witness statement is contained in a police report

            3     doesn't make it reliable.        No one believes that.        Otherwise,

            4     there would be no need for courts.           There would be no need

15:45:32    5     for cross-examination or jurors.          They would simply present

            6     police reports to judges and it would be a fait accompli.

            7                 I would ask the court again to not apply the four

            8     levels.    Thank you.

            9                 THE COURT:     Thank you both.      And just so that the

15:45:48   10     record is clear, when we speak about this objection,

           11     Mr. Thompson, I think it also incorporates your -- it

           12     certainly incorporates the objection on page 23 that's

           13     identified as number 1, correct?

           14                 MR. THOMPSON:      Yes, Your Honor.

15:46:05   15                 THE COURT:     And then, of course, number 2, because

           16     that would reflect the number, whether 22 or 26, agreed?

           17                 MR. THOMPSON:      Yes.

           18                 THE COURT:     Fair enough.

           19                 I've listened to what's been said here today and

15:46:19   20     also, in advance of entering the courtroom, reviewed what's

           21     been written.      And as Mr. Malone knows, I've had the

           22     opportunity to review this record not only once before on

           23     the occasion of my sentencing of you, sir, but also of

           24     Mr. Cooper, who was with you at the time of your arrest.

15:46:38   25                 And I found helpful what was written in both

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            1     memoranda, that meaning the one filed by the government and

            2     also that filed on behalf of Mr. Malone by Mr. Thompson,

            3     drawing my attention to the standard.

            4                 And while I agree with both of you in the sense it

15:46:58    5     is not the highest standard, but the preponderance of the

            6     evidence is a substantial enough standard, meaning it more

            7     likely than not is the test that I must employ.              And when I

            8     employ that test, the question I must answer is whether or

            9     not there is a preponderance of the evidence presented by

15:47:20   10     the government that you, Mr. Malone, committed another

           11     felony offense and/or -- and used or possessed a firearm in

           12     connection with that offense.

           13                 And the guidelines offers a fair amount of help.

           14     It starts by reminding me that this enhancement is only to

15:47:37   15     be applied if the firearm or ammunition facilitated or had

           16     the potential of facilitating another felony offense or

           17     another offense respectively, it's written.

           18                 And it also makes clear that in determining

           19     whether or not this application is appropriate, I must

15:47:56   20     consider the relationship between the instant offense and

           21     the other offense.       And we know the other offense is that

           22     that's either referred to as a kidnapping or felonious

           23     assault, but that conduct which occurred in violation of law

           24     on the 3rd and/or 4th of November, 2014, wherein Mr. Yates

15:48:19   25     was pistol-whipped and taken, presumably against his will.

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            1                 So when I consider whether or not the connection

            2     between the firearm and the other felony was merely

            3     coincidental, I find that it's not for many of the reasons

            4     not only written by Ms. Klump, but also articulated by her

15:48:43    5     here today.

            6                 And if you follow just the timeline, that being

            7     the time of the alleged abduction -- and I say that because

            8     while it's certainly not the case that there would be a

            9     conviction in state court of the matter that's now

15:48:57   10     dismissed, because there was a dismissal, I won't presume

           11     that there is more finality to that charge than there

           12     otherwise is.

           13                 But the timeline ties together your possession of

           14     the firearm in connection with another felony offense.                  I

15:49:14   15     find the phone call to be extremely damning evidence if this

           16     matter were to have gone to trial for you.

           17                 It matters to me significantly when I consider the

           18     connection between your possession of the firearm and the

           19     other felony offense, that the call was made from a phone

15:49:34   20     that was tied to you, that call and phone service technology

           21     was used to find you at the place where you were arrested

           22     shortly after leaving.        And that's more than just mere

           23     coincidence.

           24                 I also -- and this is without reciting all of the

15:49:54   25     facts, although I am very tempted, as you were, Ms. Klump,

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            1     to do just that.

            2                 That you were carrying a black hat and a mask

            3     consistent with the witnesses' descriptions of what the

            4     kidnappers had.

15:50:10    5                 And I understand your point, Mr. Thompson, about

            6     confrontation and cross-examination, but this is the

            7     preponderance of the evidence.          And I don't need the test

            8     that results when there is confrontation to have what

            9     witnesses at least were able to report to the police, that

15:50:28   10     is memorialized in a report that's nothing more than a

           11     report.    But when there is so much of that report that is at

           12     least supported by information such as that found on

           13     Mr. Malone, not to mention the least of which was a loaded

           14     weapon.

15:50:46   15                 I mean, you didn't just have a weapon in your car,

           16     you had a weapon on your person, a weapon that was ready to

           17     shoot, a bullet in the chamber, as well as a fully loaded

           18     clip.    So that tells me that you probably had some intention

           19     of at least being able to readily fire that firearm should

15:51:06   20     it become necessary.

           21                 So what I will state for the record is what's

           22     written at government's memorandum, that styled at -- or

           23     docketed as ECF Number 106, starting on page ID number 698,

           24     under subsection 2, "Other Felony Offense Enhancement," and

15:51:27   25     continuing on to page ID 700, I adopt.           I think it makes

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            1     sense.    It certainly supports beyond, by a preponderance of

            2     the evidence that the application suggested by the

            3     presentence report of the four-level enhancement is

            4     appropriate.

15:51:47    5                 And I find that by a preponderance of the

            6     evidence, you did possess the firearm during the commission

            7     of another felony offense, and in particular, that charged,

            8     albeit now dismissed, that occurred between the 3rd and the

            9     4th of November, 2014.

15:52:07   10                 That you used or possessed a firearm in connection

           11     with that offense.

           12                 That the connection was not merely coincidental.

           13                 And I agree with you, Ms. Klump, that the

           14     recovered firearm need not be the same firearm used in the

15:52:21   15     prior incident, although I do infer that it was, especially

           16     since so much of what was also used in the prior incident

           17     remained with or on Mr. Malone.          Meaning he still had the

           18     mask.    He still had the duct tape.         So why shouldn't he

           19     still have the same weapon that was one of the four

15:52:40   20     brandished on that evening?

           21                 I also find that the -- by a preponderance of the

           22     evidence, that the felon in possession charge, which is

           23     brought here in federal court, and the felonious assault

           24     and/or kidnapping offenses that have been dismissed were

15:53:01   25     part of the same course of conduct, scheme or plan.

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            1                 And for all of those reasons, I overrule your

            2     objection, Mr. Malone, and I do apply, as I did before, the

            3     four-level enhancement suggested in the presentence report.

            4                 Your objection is noted but overruled.

15:53:20    5                 So now we're to paragraph 20, which suggests an

            6     adjusted offense level of 26.         I don't believe the report is

            7     in error when it leaves at zero victim-related adjustments

            8     or adjustment for role in the offense or adjustment for

            9     obstruction.     I don't think you argue against those.            Do

15:53:40   10     you, Ms. Klump?

           11                 MS. KLUMP:     No, Your Honor.

           12                 THE COURT:     Certainly I don't expect you to,

           13     Mr. Thompson.      But just tell me, while it's not what you

           14     wanted, the math is correct at 26 at paragraph 20, isn't it,

15:53:51   15     sir?

           16                 MR. THOMPSON:      It is, Your Honor.

           17                 THE COURT:     So now we're down to acceptance of

           18     responsibility.      Not much has changed except the Sixth

           19     Circuit has ruled in concert with the United States Supreme

15:54:02   20     Court, so I find that Mr. Malone is, while I'm not thrilled

           21     about his ultra vires actions when he had counsel, I don't

           22     think they amounted to activity sufficient enough for me to

           23     believe that he has no longer accepted responsibility, and

           24     I'm still inclined to award the two levels, and I wonder if

15:54:24   25     the government is still inclined to ask for the third level.

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            1                 MS. KLUMP:     Yes.    We make that ask now.

            2                 THE COURT:     I grant that motion, finding that

            3     three levels downwards for acceptance is appropriate.

            4                 And ask again, do you agree with the math at

15:54:38    5     paragraph 24, Mr. Thompson --

            6                 MR. THOMPSON:      Yes, Your Honor.

            7                 THE COURT:     -- twenty-three?

            8                 Then, Ms. Klump, how about you, 23 is correct?

            9                 MS. KLUMP:     Yes, Your Honor.

15:54:49   10                 THE COURT:     I'd like to make sure, before we go on

           11     to criminal history, that I've treated appropriately the

           12     objections.     And the next objection is one regarding

           13     criminal history, so we're now at objection number 4.

           14                 So if you'll join me, I'd like you to go to page

15:55:07   15     14, where the criminal history is summarized.             And as we

           16     consider page 14, paragraph 38, Mr. Thompson, would you like

           17     to be heard about your objections lodged on behalf of

           18     Mr. Malone regarding the two cases that result in six

           19     criminal history points instead of three?

15:55:30   20                 MR. THOMPSON:      Yes.   Thank you, Your Honor.           I

           21     just want to make sure I have the correct paragraphs.

           22                 THE COURT:     Thirty-four and thirty-five.         They're

           23     on page 12.

           24                 MR. THOMPSON:      I believe I identified them

15:55:54   25     incorrectly in my objections.         I think I identified 33 and

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            1     34.   Thank you for correcting that, Your Honor.

            2                 THE COURT:     I think Mr. Wlotzko updated it by

            3     inserting 34 and 35.       Do you --

            4                 MR. THOMPSON:      Right.    I see that now.      Thank you.

15:56:14    5                 THE COURT:     And that happens.       When the report is

            6     revised, the paragraphs almost always increase by one.

            7                 MR. THOMPSON:      Your Honor, I don't know that I can

            8     add anything to the objection as written.            Having said that,

            9     I will, once again, repeat it probably unnecessarily.

15:56:30   10                 And quite simply, the fact that these two

           11     paragraphs are two separate charges, one in federal court,

           12     one in state court, is solely by a quirk of the charging

           13     decisions of the two respective sovereigns.             Either of the

           14     two sovereigns could have handled all of these charges

15:56:50   15     together.     There is no -- it's just simply a quirk of fate,

           16     and the difference between three and six points shouldn't be

           17     subject to that.      We would ask the court to consider those

           18     as one offense for three points.          Thank you.

           19                 THE COURT:     Thank you.

15:57:07   20                 Ms. Klump?

           21                 MS. KLUMP:     Thank you, Your Honor.        I would agree

           22     with the probation officer's response, and I would just also

           23     note that to the extent it's a quirk of fate, although I

           24     would disagree with that characterization, certainly the

15:57:23   25     sentences that Mr. Malone did receive in the county, for

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            1     example, for trafficking, may very well have been different

            2     had it been a federal indictment with regards to that

            3     charge.    Certainly we're not going into speculation as to

            4     what that would have been, but likely it would have been

15:57:44    5     higher in federal court.        So to the extent he's benefited by

            6     being charged in state court with that offense, I think he

            7     certainly should take the arguable, I guess, downside of

            8     them counting separately.

            9                 Also, in addition, I think just on sort of an

15:58:00   10     equitable level, Your Honor, this certainly shouldn't be

           11     counted as a single sentence.         Never mind the technical

           12     argument that I think very clearly shows that they are

           13     counted separately.       But also, if you just look at the

           14     trafficking offense that occurred on May 23rd, that only

15:58:20   15     relates to one of the dates for Mr. Malone's federal felon

           16     in possession charges.        He also had another offense, which

           17     occurred some five or so months earlier.

           18                 And for all of those reasons, we would ask that

           19     the court overrule the objection.

15:58:38   20                 THE COURT:     Help me.     You said May 23rd, but you

           21     didn't give me the year.

           22                 MS. KLUMP:     I'm sorry.     May 23rd, 2006 was the --

           23     appears to be the date of the trafficking offense in

           24     paragraph 34.      And then the federal felon in possession

15:58:54   25     dates were also May 23rd, 2006, and then January 12th, 2006.

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            1     So approximately five months previously.

            2                 THE COURT:      Thank you.

            3                 MS. KLUMP:      Thank you.

            4                 THE COURT:      Mr. Thompson, and I want to ask you

15:59:07    5     this just so that I don't overlook something that you may

            6     have wanted me to pay greater attention to.

            7                 In the response by Mr. Wlotzko, you see that if

            8     you focus primarily on the second paragraph of that

            9     response, he gives what I think is a technical reason why

15:59:27   10     it's not an error for those two offenses, that being the

           11     offense conduct at paragraph 34 and 35, to be treated

           12     separately.

           13                 I didn't hear you argue against those, but rather,

           14     use the quirk of fate explanation and the similarities.

15:59:48   15     Because you can see that Mr. Wlotzko is agreeing, yes, those

           16     two offenses, the trafficking and the felon in possession,

           17     do stem from a single arrest, but were not in the same

           18     charging instrument, could not have been.            One is federal,

           19     one is state.      Right?   And the sentences were not imposed on

16:00:04   20     the same day.

           21                 You don't disagree with that?

           22                 MR. THOMPSON:      I don't disagree with any of those

           23     points, Your Honor.       However, I would -- if I could expand,

           24     quirk of fate was probably --

16:00:15   25                 THE COURT:      And I'm not picking on you for that.

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            1     What I'm focused on is this:         I think your objection is

            2     without merit and I plan to overrule it.            But if you want to

            3     persist with the departure or variance argument because of

            4     the quirk of fate, I think that's the better place for you

16:00:31    5     to make that.      I'm not going to pretend that I think it will

            6     have better traction then, but I just want you to tell me if

            7     you believe there's a technical error in the way paragraphs

            8     34 and 35 are scored.

            9                 I can tell you, I do not believe there is.             I

16:00:50   10     think, for the reasons explained by Mr. Wlotzko, that they

           11     are appropriately scored.

           12                 I understand your quirk of fate argument to mean

           13     that had he been charged in one place instead of two, he'd

           14     have only three points instead of six.

16:01:07   15                 That's why I'm suggesting maybe you suffer the

           16     fate of the overruling of that objection now, but you use

           17     your talents to ask for what consideration you think may be

           18     given when you ask for a departure or variance.              A variance

           19     would probably be your take.         But up to you.

16:01:26   20                 Make sense?

           21                 MR. THOMPSON:      Yes, Your Honor.

           22                 THE COURT:     I adopt the response by the probation

           23     officer and overrule Mr. Malone's objection, finding that

           24     paragraphs 34 and 35 are appropriately scored, for the

16:01:41   25     reasons identified on page 24.

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            1                 Now, this is the place to -- I am on page 25,

            2     Mr. Thompson.      This enhancement, or the additional two

            3     points for post-conviction, and that's -- if we go back to

            4     page 14, starting at paragraph 36, you can see that when you

16:02:26    5     add the scored convictions, the score is 11.

            6                 Any objection to that, Ms. Klump?

            7                 MS. KLUMP:     No, Your Honor.

            8                 THE COURT:     Mr. Thompson?

            9                 MR. THOMPSON:      No, Your Honor.

16:02:36   10                 THE COURT:     I think it's the next paragraph where

           11     you do have an objection, paragraph 37.            And this ties into

           12     the objection that I was just speaking about on page 25.

           13                 Because Mr. Thompson [sic] was on -- or under the

           14     supervision of Adult Parole Authority, two points were

16:02:57   15     added.    Would you like to be heard about why you believe

           16     those two points should not be added?

           17                 MR. THOMPSON:      Your Honor --

           18                 THE COURT:     At least that's what I believe you're

           19     saying on page 25.

16:03:05   20                 MR. THOMPSON:      Yes, Your Honor.      That's actually

           21     the objection submitted directly by Mr. Malone.

           22                 And to be clear, Mr. Malone, and not myself, was

           23     under supervision by parole.

           24                 But his argument -- and I definitely sympathize

16:03:18   25     with his argument.       His argument is, in essence, that after

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            1     the fact, the court determined that his post-release control

            2     should never have been imposed.          It was void.

            3                  THE COURT:    Did it really?      Or did it just

            4     terminate?     Isn't that the problem?        Because it didn't void

16:03:37    5     it, it just said, "Okay, we'll stop it now."             It's not a

            6     nunc pro tunc, is it?

            7                  MR. THOMPSON:     I think that they rendered it void.

            8     I actually think -- I believe legally, the way it works in

            9     Ohio, had he been charged with an escape for -- in Ohio, you

16:03:52   10     can be charged with an escape for failing to report to your

           11     parole officer.      If you're under post-release control, it's

           12     technically charged as an escape.          That escape charge, you

           13     can defend that successfully by saying, "Well, no, he was

           14     never properly on post-release control."

16:04:09   15                  So, I mean, I definitely get where he's coming

           16     from.    And if the court could rule on it as Your Honor did

           17     his prior objection, that would, I believe, preserve it for

           18     the record.

           19                  THE COURT:    Thank you.

16:04:19   20                  Let me hear from Ms. Klump.

           21                  MS. KLUMP:    Thank you, Your Honor.        I wasn't aware

           22     there was a dispute as to the factual statements made by the

           23     probation officer, from which it appears to me that the

           24     defendant's motion to render his period of supervision void

16:04:40   25     was denied, but rather, as the court said, it was simply

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            1     terminated.     On that basis, I believe the two levels -- or

            2     the two additional criminal history points should apply.

            3                 In addition, speaking on more of the equity

            4     grounds, if the court should wish to continue on to that

16:04:59    5     point, I believe regardless of what happened retroactively,

            6     and it doesn't appear that Mr. Malone's supervision was

            7     voided, but even if it had been for some reason, at the time

            8     of the offense, he was certainly under supervision.               That

            9     was intact and everything at that point.            He thought he was

16:05:18   10     under valid supervision.

           11                 For all of those reasons, sort of the heart or the

           12     spirit, for lack of a better word, of those two levels

           13     certainly apply.      And for the reasons already stated and for

           14     the probation officer's factual statements, I would ask the

16:05:37   15     court to apply those two points.

           16                 THE COURT:     Thank you both for what you've said.

           17                 I have one question for you, Mr. Wlotzko.             On page

           18     25, under your response, the second full paragraph --

           19                 PROBATION OFFICER:       Uh-huh.

16:05:50   20                 THE COURT:     -- where it says, "On April 19, 2016,

           21     the defendant filed a motion to modify the judgment of the

           22     Cuyahoga County Court of Common Pleas from April 1," then

           23     you have quotations around language that says, "'to reflect

           24     the previous judgment under which post-release control was

16:06:09   25     imposed is now void.'"

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            1                 Whose quoted language is that, is that

            2     Mr. Malone's language?

            3                 PROBATION OFFICER:       Yes, Your Honor.

            4                 THE COURT:     All right then.

16:06:18    5                 I overrule the objection, Mr. Malone, and find

            6     that you were indeed under a term of state supervision at

            7     the time the offense was committed, making the two-level

            8     increase appropriate, and do preserve your objection for

            9     later appellate review.

16:06:37   10                 I think, Mr. Thompson, then, that we've included

           11     all of the objections that are noted, haven't we, sir?

           12                 MR. THOMPSON:      Yes, Your Honor.

           13                 THE COURT:     Then let's make sure that we

           14     understand what the range is.         Again, using the calculation

16:06:54   15     of criminal history that is shown on page 14, now we're at

           16     paragraph 38, total criminal history score is 13.              The 13

           17     corresponds with a criminal history category of VI.               VI

           18     intersects with an offense level of 23, suggesting, and it's

           19     by no means anything other than a suggestion, but it's one

16:07:20   20     where I will start for sure, 92 months at the low end, 115

           21     months at the high end.

           22                 Any objection to that, Ms. Klump?

           23                 MS. KLUMP:     No, Your Honor.

           24                 THE COURT:     And again, Mr. Thompson, I'm not

16:07:33   25     asking that you waive any objections, but just correct me if

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            1     I'm wrong when I think our offense level is calculated, at

            2     least that by me, as 23, criminal history is VI, the

            3     intersection of the two is at 92 to 115 months, sir.

            4                 MR. THOMPSON:      That's correct, Your Honor.

16:07:50    5                 THE COURT:     All right.     We've completed the first

            6     phase of the sentencing hearing.          Now I am prepared to move

            7     on to the phase of allocution.          I will hear from Ms. Klump

            8     first, next Mr. Thompson, and lastly Mr. Malone.

            9                 Ms. Klump, when you're ready.

16:08:08   10                 MS. KLUMP:     Thank you, Your Honor.

           11                 The government would request that the court impose

           12     the same sentence as it previously did, that is, 120 months.

           13     The government recognizes that that would represent a

           14     five-month upward variance from the guidelines range, but

16:08:25   15     believes that the sentencing factors, in fact, all of the

           16     sentencing factors that the court is to consider weigh in

           17     favor of a very significant sentence.

           18                 Just to start with, the nature and circumstances

           19     of the offense, Your Honor.         I won't belabor details that

16:08:40   20     I've already discussed in my memo, as well as during the

           21     previous enhancement argument.          But again, I would like to

           22     just briefly reiterate that Mr. Malone's felon in possession

           23     offense demonstrated aggravating factors, if we just isolate

           24     our consideration of the facts to his arrest.

16:09:08   25                 He had a firearm.       That firearm was stolen.           As

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            1     the court is aware, that already exacerbates the nature of

            2     the offense in terms of where that weapon came from and the

            3     other crime that must have been committed at some point in

            4     order for it to have been reported stolen.

16:09:24    5                 We also know that Mr. Malone's firearm was loaded,

            6     as the court already noted, with, I believe it was 15

            7     rounds, including one round in the chamber.             The firearm was

            8     on Mr. Malone's person and very accessible and ready to go,

            9     for lack of a better term.

16:09:42   10                 Although knowledge of -- Malone's knowledge of the

           11     fact that he was a prohibited person is certainly not an

           12     element of the offense, I do think it's relevant for the

           13     court's consideration when it looks at what sentence to give

           14     Mr. Malone.     As I'll touch upon in just a little bit,

16:10:04   15     Mr. Malone already had a federal felon in possession count.

           16     He knew not just that he wasn't allowed to have a firearm

           17     based on his state convictions, he knew already that he

           18     wasn't allowed to have a firearm, whether it be under state

           19     law or federal law, from firsthand experience.

16:10:19   20                 And in addition, of course, if you expand your

           21     consideration of the conduct from outside his just mere

           22     arrest to the relevant conduct that we've already discussed,

           23     then you see additional exacerbating factors, the violence

           24     involved in this kidnapping, the binding of the victim,

16:10:38   25     putting the victim in the trunk, I believe, of the car,

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            1     demanding ransom, pistol-whipping, all of these facts weigh

            2     further in favor of a very lengthy sentence.

            3                  As to the history and characteristics of

            4     Mr. Malone, I believe those also weigh in favor of the

16:10:55    5     maximum sentence here.        Unlike other defendants who come

            6     before the court, we know exactly what the defendant does

            7     when he's armed with a firearm.          As I noted in my sentencing

            8     memorandum, Mr. Malone has numerous offenses, some of them

            9     violent, and I'll use "violent" with a lowercase "V,"

16:11:19   10     post-Johnson.      But regardless, many of his previous offenses

           11     involve firearms, whether or not it was a, quote, "firearms

           12     offense" that he was charged with and convicted of.

           13                  As you'll see in the PSR, numerous offenses

           14     involved the firearm being discharged, and it was the

16:11:35   15     defendant who discharged the firearm.           In one case, a

           16     61-year-old individual was harmed, was shot and injured as a

           17     result of Mr. Malone discharging his firearm.             And that

           18     isn't -- the evidence, as you can see in the PSR, isn't

           19     relying on just victim statements or witness statements or

16:11:59   20     anything, but it's relying on forensic evidence and gunshot

           21     residue that was analyzed as a part of that crime.

           22                  That offense wasn't the only instance in which

           23     Mr. Malone discharged a firearm.          And then again, in this

           24     current offense that we're looking at, again, he used the

16:12:18   25     firearm.    We don't have evidence that he discharged it, but

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            1     he certainly used it to manipulate other people to do what

            2     he wanted them to do in a violent incident that was

            3     motivated apparently by greed.

            4                  In addition to that, to all of those different

16:12:39    5     prior convictions, he also has the drug trafficking

            6     conviction that was referenced.          There are also other

            7     references to the defendant being in possession of drugs,

            8     regardless of whether or not he picked up a charge in

            9     connection with those possessions.

16:12:57   10                  There's also numerous probation violations.               And,

           11     obviously, none of those prior sanctions carried any -- or

           12     I'll back that up, carried a sufficient deterrent effect for

           13     Mr. Malone.

           14                  His previous federal offense resulted in a

16:13:20   15     65-month sentence, and that, as I said, certainly did not

           16     deter him from reengaging in violent behavior.             This isn't

           17     an individual who had the gun in his upstairs dresser or

           18     tucked underneath the seat of his car, but it was one that

           19     was in his hand, being actively used to the detriment of his

16:13:37   20     community.

           21                  In light of all those factors, Your Honor, and all

           22     of the things that I mentioned in my sentencing memorandum,

           23     the government would request a sentence of 120 months.                  We

           24     would oppose a downward departure, to the extent the

16:13:51   25     defendant made one pro se.         The criteria set out in

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            1     Guideline 4A1.3(b)(1) are certainly not met here.              Both the

            2     seriousness of Mr. Malone's criminal history and his

            3     likelihood of committing new crimes, both of those factors

            4     are high and certainly would weigh against a downward

16:14:17    5     departure and, in fact, weigh in favor of an upward

            6     variance.

            7                 So to reflect adequately the severity of the

            8     offense, to deter Mr. Malone from continuing to engage in

            9     violent criminal behavior, to promote respect for the law,

16:14:31   10     achieve just punishment, and most importantly, to protect

           11     the public, the government would request a sentence of 120

           12     months.

           13                 Thank you.

           14                 THE COURT:     Thank you, Ms. Klump.

16:14:43   15                 Mr. Thompson, I am prepared to hear your

           16     allocution now.

           17                 MR. THOMPSON:      Your Honor, if I could start

           18     with -- I'm sorry.       I apologize, Your Honor.        I was speaking

           19     with Mr. Malone there for a second.

16:14:55   20                 THE COURT:     Sure.

           21                 MR. THOMPSON:      Should we approach the podium?

           22                 THE COURT:     If you'd like to, please do.

           23                 MR. THOMPSON:      Would you like to come up?

           24                 Your Honor, if I could start with the downward

16:15:23   25     departure argument for overrepresentation of criminal

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            1     history.    This is focused on that quirk of fate I referenced

            2     earlier.    This is currently paragraphs 34 and 35.            I want to

            3     be sure that the record is clear as to what exactly happened

            4     here.    Okay.

16:15:43    5                  Mr. Malone is arrested.       He is charged with

            6     possession of the firearm in federal court.             He's also

            7     charged with drug trafficking, some small amount of

            8     marijuana, which would not have carried a significant

            9     federal penalty, and a firearm specification in state court.

16:16:01   10     He's charged with that same gun in both state and federal

           11     court.

           12                  In the federal case, coincidentally, or not

           13     coincidentally, incidentally, he receives, in his

           14     calculation, a plus four-level increase for use of a firearm

16:16:18   15     in facilitating another felony offense.            He also, in that

           16     federal case, has a second federal 922(g) charge.

           17                  In scoring that as two separate convictions and

           18     scoring it as six total points rather than three, that

           19     overrepresents -- in the plainest of language, in common

16:16:39   20     sense use of the phrase "overrepresents," it pretends, it

           21     creates the legal fiction that there were two separate acts

           22     by him, as opposed to the reality of one.

           23                  For that reason, we would -- and in addition to

           24     the arguments set forth in the memorandum, we would ask the

16:16:54   25     court to downward vary by -- downward vary and/or depart by

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            1     one level, down to a range of 84 to 105 months.

            2                 I am not going to belabor the arguments made in

            3     our sentencing memorandum.         I would ask for the court to

            4     consider RDAP.      His drug history is significant.          And it's

16:17:20    5     clear that he's taking full advantage of the programs that

            6     are available to him in prison.

            7                 I would emphasize one of the points he raised in

            8     one of his pro se filings, which is he would like this court

            9     to note that he has not had any incidents while he has been

16:17:37   10     in federal prison.

           11                 THE COURT:     There is a discontinuation from one of

           12     the programs without explanation.          What can you tell me

           13     about that?

           14                 MR. THOMPSON:      I would ask Mr. Malone to address

16:17:49   15     it, Your Honor.

           16                 THE COURT:     It's referenced on page 4, paragraph

           17     5.

           18                 THE DEFENDANT:      I don't know which program it is.

           19                 THE COURT:     It's the Personal Success class -- no,

16:17:59   20     it isn't.     It is the Non-Residential Drug Treatment Program.

           21     On May 17, 2016, you were discontinued.            The caseworker was

           22     unable to tell us why.        What can you tell me?

           23                 THE DEFENDANT:      The reason, Your Honor, that it

           24     was discontinued was because I signed up for both programs

16:18:15   25     at the same time and I was accepted into the Challenge

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            1     Program first, so the non-residential drug treatment

            2     specialist told me that I cannot take both programs at the

            3     same time.     So I chose to stay enrolled at the time in the

            4     Challenge Program.

16:18:31    5                  THE COURT:    Is it your understanding that at some

            6     later time, you'll be eligible for the Non-Residential Drug

            7     Treatment Program?

            8                  THE DEFENDANT:     Yes, after I complete the

            9     Challenge Program.

16:18:41   10                  THE COURT:    Thank you.

           11                  Mr. Thompson, have I heard you fully, sir?

           12                  MR. THOMPSON:     Yes, Your Honor.

           13                  THE COURT:    Then, Mr. Malone, I am certainly

           14     interested in hearing what it is you'd like to say.

16:18:54   15                  THE DEFENDANT:     First off, Your Honor, I would

           16     like to apologize to the court.          You know, there is no

           17     excuse for my actions.        It was blatant disrespect.

           18                  Since being incarcerated, I have had the

           19     opportunity to sit down and specifically focus on, you know,

16:19:10   20     the reasons why I continue to do what I do.             And being that

           21     I had the time to speak, you know, with my treatment

           22     specialist, you know, I determined that, you know, my

           23     attitude, my behavior and, you know, the reasons for doing

           24     what I was doing, it was wrong.          So I would like to ask the

16:19:29   25     court for leniency.       You know, me dealing with issues with,

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            1     you know, my upbringing, my family, you know, the shame that

            2     I've caused them, that is more than enough for me to, you

            3     know, have learned my lesson.         And despite what sentence you

            4     choose to impose today, you know, I ask the court for

16:19:48    5     leniency.

            6                 THE COURT:     You know, I was hoping to hear

            7     something maybe a little different from you or maybe a

            8     little more, or maybe hoping against hope that there might

            9     be some explanation.

16:20:01   10                 You've spent most of your adult life in prison,

           11     and most of the time you're out of prison, you're working on

           12     getting back into prison.        Are you finished?       Is there

           13     anything else you'd like to say to help me to understand why

           14     it is you're more trustworthy outside of prison than in

16:20:18   15     prison?    It seems that when you're outside of prison, you

           16     carry weapons, you sling drugs, you hurt people.              Yeah, you

           17     disappoint your family, but more than anything else, you

           18     break the laws our society must rely on to keep us all safe.

           19                 And I don't know, based on this record, of course

16:20:37   20     now, while you're in prison, it seems that you're doing

           21     well, but, of course, you're in prison.            I am not sure -- if

           22     there's anything else you can say, now is the time to say

           23     it, because I don't mind telling you, I'm almost entirely,

           24     almost entirely unimpressed by what you've said so far.

16:20:55   25                 Make sense?

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            1                  THE DEFENDANT:     Yes, Your Honor.

            2                  THE COURT:    Anything else?

            3                  THE DEFENDANT:     Well, since being in prison, you

            4     know, on a day-to-day basis, it's not an easy environment to

16:21:04    5     survive in.

            6                  THE COURT:    But why is it different?        Like I said,

            7     you've spent most of your adult life in prison.              And this

            8     isn't even your first stint in a federal prison.              So why is

            9     this time any different?

16:21:15   10                  THE DEFENDANT:     Well, Your Honor, a couple -- on a

           11     couple different occasions, you know, while I was out in

           12     society, there were positive things that I was doing.                  But

           13     due to my drug use, I relapsed and continued to think in a

           14     criminal way.

16:21:32   15                  So, like I said, as far as me being out, there

           16     were positive -- there were times where, you know, I did

           17     strove to do the right thing, but I fell short.

           18                  THE COURT:    All right.     Anything else, sir, that

           19     you'd like me to hear before I sentence you?

16:21:48   20                  THE DEFENDANT:     That will be all, Your Honor.

           21     Thank you.

           22                  THE COURT:    Certainly.

           23                  Mr. Thompson, I respect your work and I do

           24     appreciate you taking all the time you've taken in working

16:22:02   25     with Mr. Malone and orally and in writing articulating

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            1     arguments that I think are the best that could have been

            2     made on his behalf.

            3                 I have considered all that you've asked me,

            4     including that which was made known prior to me coming into

16:22:21    5     court here today.      And as I said earlier, I find the

            6     technical application of the two-level adjustment upwards

            7     for criminal history to be correct.           And while I do

            8     appreciate your explanation about paragraphs 34 and 35, I

            9     don't find the separation of those charges to be anything

16:22:45   10     that overstates Mr. Malone's criminal history.             In fact, if

           11     anything, I think 13 is probably still too low.

           12                 When I look at the detail, the actual criminal

           13     conduct that you've committed, that which you've been

           14     convicted of, that which has been either charged and/or

16:23:02   15     dismissed but otherwise is unscored, you are one of the

           16     violent, small letter "V," actors, most that I've had in

           17     this courtroom.

           18                 You see, federal court is usually -- certainly a

           19     fair number of drug traffickers and felons in possession,

16:23:22   20     but not people who are so ready to use a weapon as you've

           21     shown that you are, as you've shown particularly in this

           22     case, which is a large part of the reason for the four-level

           23     adjustment upwards that we spent so much time on here today.

           24                 So when I think about the 3553(a) factors, and all

16:23:40   25     of them, while I won't detail all of them, but starting with

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            1     the nature and circumstances of the offense, which is just

            2     horrendous, absolutely horrendous that any person would do

            3     to another person what you and Mr. Cooper did to Mr. Yates,

            4     and then expect to profit from it.

16:23:56    5                  But then when I also look at your history and

            6     characteristics, including your prior record, including any

            7     violence, your age, the fact that you have had opportunities

            8     outside of prison, and really had an upbringing not much

            9     different from that of many people.

16:24:13   10                  And then move on to need for the sentence imposed.

           11     Just punishment, you know that that's part of what I'll do.

           12     But more than anything, you're such a young man.              Even with

           13     a stiff sentence, which I will impose, I'd like to deter

           14     you, for two reasons.       One is to keep society safe.          The

16:24:31   15     other is to give you some chance at some point to live a

           16     part of your life outside of prison.

           17                  I also intend to protect the public, reflect the

           18     seriousness of the offense and, to the extent it is still

           19     possible, to allow you to improve your conduct and

16:24:49   20     condition.

           21                  I'm not so sure that what you've said is the case.

           22     I believe that you probably don't want to be in prison.                     Who

           23     does?    You've been there often enough to probably have a

           24     greater dislike for it than many who are incarcerated, but

16:25:02   25     not so great that you refuse to go back.

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            1                  Your efforts, despite the adequate, or beyond

            2     that, the more-than-competent representation by Mr. Thompson

            3     to take the reins and to write to the court, to urge this or

            4     that, to compel movement by the court, tells me that you

16:25:22    5     haven't achieved the humility that I hope you may someday

            6     achieve.

            7                  I tell you this:      When I consider whether or not

            8     the guidelines range suggested, that being 92 months at the

            9     low end and 115 at the high end, is sufficient given your

16:25:41   10     history, I have to agree with you, Ms. Klump, it's not.

           11     While five months makes a small difference, I think the only

           12     answer I can give to you, to the public, to our system of

           13     governance, our system of justice, is to vary upwards by

           14     those five months as requested by the government.              And I

16:26:01   15     hereby do that and reimpose the term of incarceration

           16     imposed before, not because I did it before, but because it

           17     is indeed the right sentence in this case for you.

           18                  You must learn that everyone has a right to be

           19     free of violence and intimidation.           You are a felon not

16:26:21   20     allowed to possess a weapon, loaded or otherwise.              And you

           21     know that.

           22                  One of the reasons, the staunchest, strongest

           23     reasons for this five-month variance -- and I will tell you

           24     this, I'd go more if I could, but you know the statute stops

16:26:35   25     me at 120 -- this is your second federal felon in possession

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            1     charge.    You were given 65 months.         That's more than a

            2     significant sentence.       And yet you came back.

            3                 So for those reasons, I find the guidelines

            4     inadequate.     120 months is adequate.        And that is the term

16:26:59    5     of incarceration that I impose.

            6                 In addition to that, I impose a three-year term of

            7     supervision.     Within 72 hours after being released from the

            8     Bureau of Prisons, Mr. Malone, you shall meet with your

            9     probation officer, who will reacquaint you with all of the

16:27:14   10     conditions of supervision, whether they are mandatory,

           11     special or standard conditions.

           12                 Please don't miss that first initial meeting,

           13     because if you do, that will probably be your first

           14     opportunity to violate your three-year term of supervision.

16:27:31   15                 I will say now, and I will remark in writing, that

           16     I will ask the Bureau of Prisons to give you credit for the

           17     time you've already served.         The presentence report remarks

           18     upon what that time might be, but I'm sure it still needs

           19     further adjustment.

16:27:45   20                 I waive the imposition of a fine, but do impose a

           21     $100 special assessment.

           22                 And restitution is not an issue, so I will not

           23     impose that.

           24                 I remind you, Mr. Malone, that you shall not,

16:27:59   25     especially not while on this three-year term of supervision,

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            1     commit another crime, federal, state or local crime, not

            2     possess a drug, whether it's legal or illegal, especially if

            3     that legal drug is one prescribed for another person.

            4                 Within 15 days after you're released from prison,

16:28:15    5     you'll have at least the first of three periodic random drug

            6     tests.    You'll have more than three, so please be prepared.

            7     Never do anything to avoid the test, dilute your urine or

            8     anything else that will cause you to fail the test,

            9     especially ingesting illegal or other controlled substances.

16:28:34   10                 Sir, for the rest of your life, you shall not

           11     possess a firearm, destructive device or dangerous weapon.

           12                 You understand that, don't you?

           13                 THE DEFENDANT:      Yes, Your Honor.

           14                 THE COURT:     I am ordering that you participate in

16:28:46   15     an approved program of substance abuse testing and/or

           16     outpatient/inpatient substance abuse treatment as directed

           17     by your supervising probation officer after an appropriate

           18     assessment.

           19                 And again, don't do anything to obstruct, attempt

16:29:01   20     to obstruct or tamper in any way with the efficiency or

           21     accuracy of any drug test that you may be given.

           22                 I also order that you provide a DNA sample, if you

           23     haven't already.      My suspicion is that you have.

           24                 Because of your history of violence, of drug

16:29:18   25     possession, of possession of a weapon, I am ordering that

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            1     you participate in a search and seizure provision, which

            2     allows your person, your body, the place where you live, the

            3     place where you work, a computer that you rely on, a car

            4     that you drive or are driven in, to be subject to a

16:29:33    5     warrantless search and seizure if there is reasonable

            6     suspicion that you're in possession of contraband.

            7                  So please make sure that those with whom you live

            8     or share any of those things, such as a computer or car,

            9     know that that can be searched if you have access to it.

16:29:51   10                  Mr. Thompson, you spoke to me about RDAP.            As you

           11     know, I made a recommendation I believe initially when I

           12     sentenced Mr. Malone that he be allowed access to drug

           13     treatment in prison.       It sounds like he's gotten that

           14     attention.     What were you referring to when you referred to

16:30:10   15     RDAP?

           16                  MR. THOMPSON:     I believe it's the Residential Drug

           17     Treatment Program.

           18                  THE COURT:    Outside of prison?

           19                  MR. THOMPSON:     No, Your Honor.

16:30:19   20                  THE DEFENDANT:     No.

           21                  MR. THOMPSON:     Mr. Malone can --

           22                  THE COURT:    Certainly.

           23                  THE DEFENDANT:     Your Honor, it's inside of prison.

           24     It's a program -- it's the 500-hour program where I would

16:30:27   25     have to be transferred to a special facility in order to

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            1     complete it.

            2                  THE COURT:    Do you have any objection to that,

            3     Ms. Klump?

            4                  MS. KLUMP:    No, Your Honor.

16:30:37    5                  THE COURT:    I will ask the Bureau of Prisons to

            6     consider you for that program, and any other sort of

            7     program, especially those regarding education and vocational

            8     training that may allow you to lead a law-abiding life once

            9     you leave prison.

16:30:55   10                  Let me ask you, Mr. Wlotzko, regarding other

           11     conditions that I should impose that I haven't mentioned, or

           12     if I've mentioned, I haven't mentioned articulately.

           13                  What do you suggest?

           14                  PROBATION OFFICER:      I would have nothing further,

16:31:12   15     Your Honor.

           16                  THE COURT:    Ms. Klump, how about you, before I

           17     turn to objections, what would you suggest that I haven't

           18     mentioned or that I can perfect if I've mentioned

           19     inarticulately?

16:31:25   20                  MS. KLUMP:    Nothing, Your Honor.

           21                  THE COURT:    Then let me ask you about objections,

           22     to any part of the proceedings as to Malone, and separately

           23     state your objection, if you have one, to the sentence

           24     imposed.

16:31:34   25                  MS. KLUMP:    No objection, Your Honor.         Thank you.

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            1                  THE COURT:    Mr. Thompson, I don't know if

            2     Mr. Malone would like me to consider a different place of

            3     incarceration.      You were at McCreary, I believe, U.S.

            4     penitentiary?

16:31:46    5                  THE DEFENDANT:     Correct, Your Honor.

            6                  THE COURT:    Are you happy going back there?

            7                  THE DEFENDANT:     No, Your Honor.

            8                  THE COURT:    Well, you know that I can't do much

            9     about that except if you ask me to, ask the Bureau of

16:31:57   10     Prisons to consider a different place.           Would you like me to

           11     do that?

           12                  THE DEFENDANT:     Yes, Your Honor.

           13                  THE COURT:    Do you have a place in mind?

           14                  THE DEFENDANT:     Somewhere closer to home.

16:32:08   15                  THE COURT:    If not immediately, eventually?

           16                  THE DEFENDANT:     Yes, Your Honor.

           17                  THE COURT:    You heard me mention educational

           18     programs as well as vocational programs.            Do you want me to

           19     be more specific?      Can you give me anything you have a

16:32:26   20     greater interest in, welding, construction, automotives?

           21                  THE DEFENDANT:     Yes.    Yes, Your Honor.      Welding,

           22     electrical and HVAC.

           23                  THE COURT:    I will indicate all three.

           24                  Mr. Thompson, what have I missed or can improve

16:32:46   25     upon?

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            1                 MR. THOMPSON:      Are you asking for objections now,

            2     Your Honor?

            3                 THE COURT:     Not yet, in a moment.

            4                 MR. THOMPSON:      Okay.    Then nothing else, I don't

16:32:54    5     believe, Your Honor.

            6                 THE COURT:     Okay.    Your objections now, please.

            7     And all of those stated already you can restate, but know

            8     that they're preserved when overruled, but the floor is

            9     still yours to articulate them.

16:33:05   10                 MR. THOMPSON:      Just one second, Your Honor.

           11           (Discussion held off the record between the defendant

           12           and Mr. Thompson.)

           13                 MR. THOMPSON:      Your Honor, in addition to the

           14     objections I've already stated on the record and we've

16:33:32   15     already addressed in court, we would object to the

           16     five-month upward variance, in part, as Mr. Malone requests

           17     that it be based -- the objection be based upon a violation

           18     of the principles set forth in Apprendi, then also as a

           19     sentencing violation generally.          Thank you.

16:34:04   20                 THE COURT:     Certainly.     And I'll respond that I

           21     think the advisory guidelines are a good start.              I am

           22     certainly not obligated to end with the 115-month sentence.

           23     And the advisory guidelines, Mr. Malone, are geared towards

           24     the heartland of defendants, most defendants, the common,

16:34:23   25     the general defendant.        You are uncommon.      You are outside

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            1     of that general grouping.        For several reasons.         And I think

            2     when your criminal history is reviewed, those reasons are

            3     patent.    They are obvious.       It is violent.     It is

            4     repetitive.     You do the same things in contravention of

16:34:39    5     civil society over and over again.

            6                 But as I said, chief among all of the complaints I

            7     have with that history is that this is your second federal

            8     felon in possession of a firearm and ammunition violation.

            9                 So for those reasons, I note, preserve for the

16:34:58   10     record, but continue to adhere to the 120-month sentence

           11     that includes the five-month upward variance.

           12                 And I do mean what I say, if I were permitted to

           13     abridge the 120 months, I would go higher.            Maybe another

           14     five months.     But I can't and I won't.

16:35:16   15                 Fourteen days from the date on which I reduce to

           16     writing the sentence that I've now imposed is the cutoff for

           17     you at least giving the appellate court notice of your

           18     appeal.

           19                 As you know, you don't have to have it all

16:35:27   20     fine-tuned, but just a notice of appeal timely filed to

           21     allow the appellate court to know that you're coming.

           22                 As you may already know, you don't have to worry

           23     about whether or not you can afford counsel, counsel will be

           24     appointed to represent you.         If you and Mr. Thompson decide

16:35:44   25     not to work together, don't worry, there are plenty of

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            1     capable appellate counsel.         So that should not be a reason

            2     for you not to appeal.

            3                  Do you understand, sir?

            4                  THE DEFENDANT:     Yes, Your Honor.

16:35:53    5                  THE COURT:    Mr. Thompson, if Mr. Malone should ask

            6     it of you, even if you and he decide not to work together,

            7     would you at least timely file the notice of appeal just so

            8     that we know that it's perfected without issue?

            9                  MR. THOMPSON:     Yes, Your Honor.

16:36:06   10                  THE COURT:    And I do appreciate your hard work on

           11     this case.     I've grown used to it.        You are dogged about all

           12     of your cases, but you brought a little extra passion to

           13     this one.     I appreciate it.      You didn't win many of your

           14     arguments, and I think that's because the facts and the law

16:36:20   15     were not on your side.        But nonetheless, I appreciate what

           16     you've done.

           17                  Is there anything more before I close the record,

           18     on behalf of the United States?

           19                  MS. KLUMP:    No, Your Honor.      Thank you.

16:36:30   20                  THE COURT:    On behalf of Mr. Malone?

           21                  THE DEFENDANT:     No, Your Honor.

           22                  MR. THOMPSON:     No, Your Honor.

           23                  THE COURT:    Mr. Malone, I've dealt you a deserved

           24     but stiff sentence, and it doesn't mean that I still don't

16:36:38   25     wish you the best, because I do.          I think you're greater

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            1     than you allow yourself to be, and I hope that you get out

            2     of your way and become that person.

            3                 This hearing is adjourned.

            4                 THE CLERK:     All rise.

16:36:51    5           (Proceedings concluded at 4:36 p.m.)

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 1                             C E R T I F I C A T E

 2

 3           I certify that the foregoing is a correct transcript

 4    from the record of proceedings in the above-entitled

 5    matter.

 6

 7                   /s/ Mary L. Uphold                January 12, 2017
                     Mary L. Uphold, RDR, CRR          Date
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